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                                                           UNITED STATES BANKRUPTCY COURT
                                                             EASTERN DISTRICT OF VIRGINIA


                                                                            CHAPTER 13 PLAN
                                                                          AND RELATED MOTIONS

                                     Kevin Lamonte Bailey, Sr.
Name of Debtor(s):                   Donita Lashee Bailey                                       Case No: 19-33638

This plan, dated         July 15, 2019          , is:

                                 the first Chapter 13 plan filed in this case.
                                 a modified Plan, which replaces the
                                   confirmed or unconfirmed Plan dated                .

                                 Date and Time of Modified Plan Confirmation Hearing:

                                 Place of Modified Plan Confirmation Hearing:


                       The Plan provisions modified by this filing are:


                       Creditors affected by this modification are:

1. Notices
To Creditors:
Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read this plan
carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court.
(1) Richmond and Alexandria Divisions:
The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed.
(2) Norfolk and Newport News Divisions: a confirmation hearing will be held even if no objections have been filed.
    (a) A scheduled confirmation hearing will not be convened when:
         (1) an amended plan is filed prior to the scheduled confirmation hearing; or
         (2) a consent resolution to an objection to confirmation anticipates the filing of an amended plan and the objecting
         party removes the scheduled confirmation hearing prior to 3:00 pm on the last business day before the confirmation
         hearing.
In addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance.

Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set out later in the plan.
A.        A limit on the amount of a secured claim, set out in Section 4.A which may                Included          Not included
          result in a partial payment or no payment at all to the secured creditor
B.        Avoidance of a judicial lien or nonpossessory, nonpurchase-money                         Included           Not included
          security interest, set out in Section 8.A
C.        Nonstandard provisions, set out in Part 12                                               Included           Not included

2.      Funding of Plan. The debtor(s) propose to pay the Trustee the sum of $ 880.00                per   month    for   60    months.
Other payments to the Trustee are as follows:
                                                               Page 1

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            The total amount to be paid into the Plan is $                52,800.00    .
3.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.
           A.          Administrative Claims under 11 U.S.C. § 1326.
                       1.           The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10% of all sums
                                    received under the plan.
                       2.           Check one box:
         Debtor(s)’ attorney has chosen to be compensated pursuant to the “no-look” fee under Local Bankruptcy Rule 2016-1(C)(1)(a)
        and (C)(3)(a) and will be paid $ 5,096.00 , balance due of the total fee of $ 5,296.00 concurrently with or prior to the
        payments to remaining creditors.
         Debtor(s)' attorney has chosen to be compensated pursuant to Local Bankruptcy Rule 2016-1(C)(1)(c)(ii) and must submit
        applications for compensation as set forth in the Local Rules.
           B.          Claims under 11 U.S.C. § 507.
                       The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                       monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid pursuant to
                       3.C below:
Creditor                                      Type of Priority                        Estimated Claim                    Payment and Term
City of Richmond - TAX                        Taxes and certain other debts           300.00                                  5.00
                                                                                                                         60 months
County of Chesterfield                        Taxes and certain other debts           1,030.00                               17.17
                                                                                                                         60 months
County of Chesterfield                        Taxes and certain other debts           251.00                                  4.18
                                                                                                                         60 months
County of Chesterfield                        Taxes and certain other debts           364.00                                  6.07
                                                                                                                         60 months
           C.          Claims under 11 U.S.C. § 507(a)(1).
                       The following priority creditors will be paid prior to other priority creditors but concurrently with administrative
                       claims above.
Creditor                                      Type of Priority                        Estimated Claim                    Payment and Term
-NONE-


4.    Secured Creditors: Motions to Value Collateral (“Cramdown”), Collateral being Surrendered, Adequate Protection
Payments, and Payment of certain Secured Claims.
                       A.      Motions to Value Collateral (other than claims protected from “cramdown” by 11 U.S.C. §
                       1322(b)(2) or by the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the
                       Court, the Court may grant the debtor(s)’ motion to value collateral as set forth herein.
           This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
           “cramdown” by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)’ principal residence] or by the final paragraph of 11
           U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
           bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
           treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
           interest as provided in sub-section D of this section. You must refer to section 4(D) below to determine the interest
           rate, monthly payment and estimated term of repayment of any “crammed down” loan. The deficiency balance owed
           on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 5 of the Plan.
           The following secured claims are to be “crammed down” to the following values:

Creditor                                 Collateral                          Purchase Date              Est. Debt Bal.               Replacement Value
Nissan Motor Acceptance                  2012 Nissan Titan S                 11/2015                    14,144.00                    12,975.00
                                         130,000 miles
           B.          Real or Personal Property to be Surrendered.
           Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the
           claims of the following creditors in satisfaction of the secured portion of such creditors’ allowed claims. To the extent that
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           the collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
           non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay under §§ 362(a) and 1301(a) as to
           the interest of the debtor(s), any co-debtor(s) and the estate in the collateral.
Creditor                                      Collateral Description              Estimated Value                Estimated Total Claim
-NONE-
           C.          Adequate Protection Payments.
           The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
           secured by personal property, until the commencement of payments provided for in sections 4(D) and/or 7(B) of the Plan, as
           follows:
Creditor                                     Collateral                         Adeq. Protection Monthly Payment      To Be Paid By
Exeter Finance Corp                          2016 Cadillac SRX 52,000           105.00                                Trustee
                                             miles
Nissan Motor Acceptance                      2012 Nissan Titan S 130,000        65.00                                 Trustee
                                             miles
           Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
           7(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
           order for relief).
           D.          Payment of Secured Claims on Property Being Retained (except those loans provided for in section 6 of the
                       Plan):
           This section deals with payment of debts secured by real and/or personal property [including short term obligations,
           judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
           allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral’s
           replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below,
           the monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
           Plan, the valuation specified in sub-section A and interest rate shown below will be binding unless a timely written
           objection to confirmation is filed with and sustained by the Court.
Creditor                                 Collateral                            Approx. Bal. of Debt or    Interest Rate   Monthly Payment &
                                                                               "Crammed Down" Value                       Est. Term
Exeter Finance Corp                      2016 Cadillac SRX 52,000 miles 21,650.00                         6.5%               478.85
                                                                                                                          52months
Nissan Motor Acceptance                  2012 Nissan Titan S 130,000           12,975.00                  6.5%               296.92
                                         miles                                                                            50months
           E.          Other Debts.
           Debts which are (i) mortgage loans secured by real estate which is the debtor(s)’ principal residence, or (ii) other long term
           obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
           payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 6 of the Plan.
5.         Unsecured Claims.
           A.          Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                       remaining after disbursement to allowed secured and priority claims. Estimated distribution is
                       approximately 3 %. The dividend percentage may vary depending on actual claims filed. If this case were
                       liquidated under Chapter 7, the debtor(s) estimate that unsecured creditors would receive a dividend of
                       approximately 0 %.
           B.          Separately classified unsecured claims.
Creditor                                            Basis for Classification                        Treatment
-NONE-
6.       Mortgage Loans Secured by Real Property Constituting the Debtor(s)’ Principal Residence; Other Long Term
Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any existing
default under 11 U.S.C. § 1322(b)(5).
                       A.        Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors
                       listed below will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if
                       any, will be paid by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated
                       below, without interest unless an interest rate is designated below for interest to be paid on the arrearage claim and
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                       such interest is provided for in the loan agreement. A default on the regular contract payments on the debtor(s)
                       principal residence is a default under the terms of the plan.
Creditor                                 Collateral                       Regular           Estimated      Arrearage     Estimated Cure       Monthly
                                                                          Contract          Arrearage      Interest Rate Period               Arrearage
                                                                          Payment                                                             Payment
VHDA                                     3906 Sunny Creek                 36.00             0.00           0%             0months
                                         Drive Chesterfield,
                                         VA 23832
                                         Chesterfield County
                                         Primary Residence
VHDA                                     3906 Sunny Creek                 1,361.81          0.00           0%             0months
                                         Drive Chesterfield,
                                         VA 23832
                                         Chesterfield County
                                         Primary Residence
           B.          Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                       regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                       debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                       below.
Creditor                             Collateral                              Regular Contract      Estimated         Interest Rate Monthly Payment on
                                                                             Payment               Arrearage         on            Arrearage & Est. Term
                                                                                                                     Arrearage
-NONE-


           C.          Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                       constituting the debtor(s)’ principal residence upon which the last scheduled contract payment is due before the final
                       payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                       1322(c)(2) with interest at the rate specified below as follows:
Creditor                                     Collateral                              Interest Rate Estimated Claim           Monthly Payment & Term
-NONE-


7.       Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts,
leases and/or timeshare agreements listed below.
                       A.       Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory
                       contracts:
Creditor                                              Type of Contract
-NONE-

           B.          Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                       contracts. The debtor(s) agree to abide by all terms of the agreement. The Trustee will pay the pre-petition
                       arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                       indicated below.

Creditor                                     Type of Contract                     Arrearage                Monthly Payment for Estimated Cure Period
                                                                                                           Arrears
VHDA                                         Agreement,Contract                                     0.00                          0months
8.         Liens Which Debtor(s) Seek to Avoid.
           A.          The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                       judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)’ exemptions. Unless a
                       written objection is timely filed with the Court, the Court may grant the debtor(s)’ motion and cancel the
                       creditor’s lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                       hearing.
Creditor                                     Collateral                           Exemption Basis          Exemption Amount       Value of Collateral


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Creditor                                      Collateral                     Exemption Basis        Exemption Amount    Value of Collateral
-NONE-


            B.          Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                        will file and serve separate adversary proceedings to avoid the following liens or security interests. The creditor
                        should review the notice or summons accompanying such pleadings as to the requirements for opposing such
                        relief. The listing here is for information purposes only.
Creditor                                      Type of Lien                  Description of Collateral         Basis for Avoidance
-NONE-
9.          Treatment and Payment of Claims.
      •     All creditors must timely file a proof of claim to receive any payment from the Trustee.
      •     If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to
            confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the Plan. This paragraph
            does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the
            debtor(s) receive a discharge.
      •     If a claim is listed in the Plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor
            will be treated as unsecured for purposes of distribution under the Plan.
      •     The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.
      •     If relief from the automatic stay is ordered as to any item of collateral listed in the plan, then, unless otherwise ordered by the
            court, all payments as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by
            the plan.
      •     Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of claim controls over any
            contrary amounts listed in the plan.
10.         Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
            Notwithstanding such vesting, the debtor(s) may not transfer, sell, refinance, encumber real property or enter into a mortgage
            loan modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
            other creditors to the extent required by the Local Rules of this Court.
11.         Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total
            of $5,000 principal amount during the term of this Plan, whether unsecured or secured, except upon approval of the Court
            after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to the extent required by the
            Local Rules of this Court.
12.         Nonstandard Plan Provisions

                 None. If "None" is checked, the rest of Part 12 need not be completed or reproduced.




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Dated:        July 15, 2019

/s/ Kevin Lamonte Bailey, Sr.                                                                       /s/ Christopher J. Flynn
Kevin Lamonte Bailey, Sr.                                                                           Christopher J. Flynn 89165
Debtor 1                                                                                            Debtors' Attorney

/s/ Donita Lashee Bailey
Donita Lashee Bailey
Debtor 2
            By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also
            certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to those contained in the Local
            Form Plan, other than any nonstandard provisions included in Part 12.
Exhibits:               Copy of Debtor(s)’ Budget (Schedules I and J); Matrix of Parties Served with Plan


                                                                           Certificate of Service
I certify that on        July 15, 2019          , I mailed a copy of the foregoing to the creditors and parties in interest on the attached Service
List.

                                                                                                    /s/ Christopher J. Flynn
                                                                                                    Christopher J. Flynn 89165
                                                                                                    Signature

                                                                                                    P.O. Box 11588
                                                                                                    Richmond, VA 23230-1588
                                                                                                    Address

                                                                                                    (804) 358-9900
                                                                                                    Telephone No.

                                                  CERTIFICATE OF SERVICE PURSUANT TO RULE 7004
I hereby certify that on           July 15, 2019           true copies of the forgoing Chapter 13 Plan and Related Motions were served upon the
following creditor(s):
Nissan Motor Acceptance Corporation
Corporation Service Co., Reg. Agent
100 Shockoe Slip, 2nd Floor
Richmond, VA 23219
   by first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P.; or
   by certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

                                                                                                    /s/ Christopher J. Flynn
                                                                                                    Christopher J. Flynn 89165

                                                              United States Bankruptcy Court
                                                                       Eastern District of Virginia
            Kevin Lamonte Bailey, Sr.
 In re      Donita Lashee Bailey                                                                                Case No.   19-33638
                                                                                    Debtor(s)                   Chapter    13


                                                         SPECIAL NOTICE TO SECURED CREDITOR

To:       Nissan Motor Acceptance Corporation, c/o Corporation Service Co., Reg. Agent
          100 Shockoe Slip, 2nd Floor; Richmond, VA 23219
          Name of creditor
                                                                                    Page 6

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          2012 Nissan Titan S 130,000 miles
          Description of collateral

1.         The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                       To value your collateral. See Section 4 of the plan. Your lien will be limited to the value of the collateral, and any
                       amount you are owed above the value of the collateral will be treated as an unsecured claim.

                       To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                       Section 8 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

                        Date objection due:                                No later than 7 days prior to 10/9/19
                        Date and time of confirmation hearing:             October 9, 2019 11:10AM
                        Place of confirmation hearing:                     701 E. Broad St., Rm 5000, Richmond, VA

                                                                                    Kevin Lamonte Bailey, Sr.
                                                                                    Donita Lashee Bailey
                                                                                    Name(s) of debtor(s)

                                                                              By:   /s/ Christopher J. Flynn
                                                                                    Christopher J. Flynn 89165
                                                                                    Signature

                                                                                        Debtor(s)' Attorney
                                                                                        Pro se debtor

                                                                                    Christopher J. Flynn 89165
                                                                                    Name of attorney for debtor(s)
                                                                                    P.O. Box 11588
                                                                                    Richmond, VA 23230-1588
                                                                                    Address of attorney [or pro se debtor]

                                                                                    Tel. #    (804) 358-9900
                                                                                    Fax #     (804) 358-8704


                                                                    CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by
             first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or
             certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this     July 15, 2019          .


                                                                                    /s/ Christopher J. Flynn
                                                                                    Christopher J. Flynn 89165
                                                                                    Signature of attorney for debtor(s)
Ver. 10/18




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Fill in this information to identify your case:

Debtor 1                      Kevin Lamonte Bailey, Sr.

Debtor 2                      Donita Lashee Bailey
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA

Case number               19-33638                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Forklift Operator                           Disabled
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Nestle Purina

       Occupation may include student        Employer's address
                                                                   1 Checkerboard Square
       or homemaker, if it applies.
                                                                   Saint Louis, MO 63164

                                             How long employed there?         Since 5/4/2015

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         5,764.68        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,764.68               $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Kevin Lamonte Bailey, Sr.
Debtor 2   Donita Lashee Bailey                                                                  Case number (if known)    19-33638


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      5,764.68       $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        657.97       $                0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $                0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $        288.25       $                0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $        302.99       $                0.00
     5e.    Insurance                                                                     5e.        $        444.56       $                0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00       $                0.00
     5g.    Union dues                                                                    5g.        $          0.00       $                0.00
     5h.    Other deductions. Specify: Auto/Home Insurance                                5h.+       $        370.63 +     $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,064.40       $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,700.28       $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $              0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $              0.00
     8e. Social Security                                                                  8e.        $              0.00   $          1,343.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.        $              0.00   $                0.00
     8g. Pension or retirement income                                                     8g.        $              0.00   $                0.00
                                               Federal and State Tax Refunds
     8h.    Other monthly income. Specify:     Amortized                                  8h.+ $                71.00 + $                   0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $              71.00      $           1,343.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,771.28 + $       1,343.00 = $           5,114.28
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          5,114.28
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Kevin Lamonte Bailey, Sr.                                                         Check if this is:
                                                                                                               An amended filing
Debtor 2                 Donita Lashee Bailey                                                                  A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           19-33638
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,361.81

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            36.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Kevin Lamonte Bailey, Sr.
Debtor 2     Donita Lashee Bailey                                                                      Case number (if known)      19-33638

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 200.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 120.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 500.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                 110.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 150.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property                                                             16. $                                                  51.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Miscellaneous Expenses                                              21. +$                                                150.00
      SSI (Mort Ranta)                                                                            +$                                               305.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,233.81
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,233.81
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,114.28
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,233.81

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 880.47

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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ADT Security                        AFNI                                AT&T Mobility
RE: Bankruptcy                      P.O. Box 3097                       P.O. Box 536216
PO Box 650485                       Bloomington, IL 61702               Atlanta, GA 30353-6216
Dallas, TX 75265



Caine & Weiner                      Capital One Bank USA NA             Capital One Bank USA NA
PO Box 5010                         10700 Capital One Way               PO Box 30281
Woodland Hills, CA 91365            Glen Allen, VA 23060                Salt Lake City, UT 84130




Cash Net USA                        Chesterfield Fam. Medicince         City of Richmond - TAX
175 West Jackson                    Attn: Bankruptcy Dept               900 E. Broad Street. Room 107
Suite 1000                          PO Box 14099                        Richmond, VA 23219
Chicago, IL 60604                   Belfast, ME 04915



CJW Medical Center                  Comenity Bank/NWYRK&Co              County of Chesterfield
PO Box 13620                        PO Box 182789                       Treasurer - Personal Property
Richmond, VA 23225                  Columbus, OH 43218                  P.O. Box 70
                                                                        Chesterfield, VA 23832



Credence Resource Management        Credit Collection Service           Dermatology Associates
PO Box 2300                         PO Box 607                          Attn: Bankruptcy Dept
Southgate, MI 48195                 Norwood, MA 02062                   301 Concourse Blvd. #190
                                                                        Glen Allen, VA 23059



DirecTV                             Emergency Coverage Corp             EverGreen Pest Solutions
Attn: Bankruptcy Claims             PO Box 740023                       265 25th Street
PO Box 6550                         Cincinnati, OH 45274                Ogden, UT 84401
Englewood, CO 80155



Exeter Finance Corp                 Franklin Collection                 HRRG
PO Box 166097                       Re: Directv                         Po Box 5406
Irving, TX 75016                    PO Box 3910 314 S Church            Cincinnati, OH 45273
                                    Tupelo, MS 38801



IC Systems                          Kay Jewelers                        Kohls/Capital One
444 Hwy 96 East                     Attn: Bankruptcy Dept               PO Box 3115
PO Box 64137                        PO Box 3680                         Milwaukee, WI 53201
Saint Paul, MN 55164-0137           Akron, OH 44398-9914



Labcorp                             LCA Collections                     MCV Physicians of the VCU Heal
Re: Bankruptcy Dept.                Re: LabCorp                         PO Box 91747
PO Box 2240                         1250 Chapel Hill Road               Richmond, VA 23291
Burlington, NC 27216                Burlington, NC 27215



Midland Credit Management Inc       Midlothian Family Dentistry         NCB Management Services, Inc.
PO Box 60578                        14420 Sommerville Court             Re:
Los Angeles, CA 90060               Midlothian, VA 23113                PO Box 1099
                                                                        Langhorne, PA 19047
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New Generations Federal Credit      Nissan Motor Acceptance             NPAS, Inc
Attn: Bankruptcy Dept.              PO Box 660366                       P.O. Box 99400
1700 Robin Hood Road                Dallas, TX 75266                    Louisville, KY 40269
Richmond, VA 23220



NTelos                              OneMain Financial                   Parrish and Lebar
401 Spring Lane, Suite 300          100 International Drive             Re: Bankruptcy
P.O. Box 1990                       Suite 15000                         5 East Franklin Street
Waynesboro, VA 22980                Baltimore, MD 21202-4683            Richmond, VA 23219



Patient First                       Premier CPAP                        Progressive Insurance
Attn: Patient Accounts              Po Box 1259                         PO Box 31260
5000 Cox Road, Suite 100            Dept 140418                         Tampa, FL 33631
Glen Allen, VA 23060                Oaks, PA 19456



Publishers Clearing House           Pulmonary Associates of Richmo      Radiology Assoc. of Richmond
Attn: Bankruptcy Dept               P.O. Box 102594                     2602 Buford Rd.
101 Winners Circle                  Atlanta, GA 30368                   Richmond, VA 23235
Port Washington, NY 11050



Receivable Management Services      Recovery Management Services        Republic Bank & Trust Company
RE: Erie Insurance                  PO Box 857                          Re: VCU Hospital
PO Box 280431                       Warrenville, IL 60555-0857          PO Box 742628
East Hartford, CT 06128-0431                                            Cincinnati, OH 45274



Richmond Ambulance Authority        Speedy Cash                         Speedy Cash
Attn: Bankruptcy Dept.              801 B Ponce De Leon blvd            PO Box 780408
2400 Hermitage Rd.                  Saint Augustine, FL 32084           Wichita, KS 67278
Richmond, VA 23220-1310



Sterling Jewelers                   SYNCB/Lowes                         Synergetic Communication, Inc.
Re: Bankruptcy                      PO Box 965005                       5450 N.W.Central #1000
375 Ghent Road                      Orlando, FL 32896                   Houston, TX 77092
Akron, OH 44333



Taxing Authority Consulting Sv      VHDA                                Windy Creek
Re: Bankruptcy                      P.O. Box 4627                       Po Box 27898
PO Box 31800                        Richmond, VA 23220                  Newark, NJ 07101
Henrico, VA 23294
